          Case 1:21-cr-00451-CJN Document 30 Filed 11/24/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 )
                                         )
v.                                       )    CRIMINAL NO. 21-cr-00451-CJN
                                         )
SUZANNE IANNI,                           )
    Defendant                            )

                                 MOTION TO CONTINUE

        Now comes counsel for Suzanne Ianni and respectfully moves to continue the
Status Conference scheduled for November 30, 2021. The government does not object.
        As reasons therefore,
     1) The government has provided counsel with four (4) recent productions of
        discovery – September 27, October 26, November 1, and November 8.
     2) Counsel has not had adequate opportunity to review the materials.
     3) He has been on two consecutive trials – a Massachusetts state homicide case
        (1973CR00089 – Bristol County Superior Court) and a fraud trial in the United
        States District Court, District of Massachusetts (19-cr-10099-NMG). Counsel
        is scheduled to soon begin a trial in another Massachusetts state court
        (2077CR000162 – Essex County Superior Court on December 13, 2021).
     4) Counsel requests that the Court set a date for a further Status Conference in
        approximately 60 days.
     5) The defendant agrees that the time between now and the next date be excluded
        from the calculations under 18 U.S.C. §§3161(h)(7)(A). The ends of justice
        served in the delay outweigh the best interest of the public and Mrs. Ianni in
        a speedy trial. Exclusion of the time is necessary so that counsel and the
        defendant can review the new discovery.
     6) The government, through Assistant United States Attorney Stuart Allen, does
        not object to the continuance.
          Case 1:21-cr-00451-CJN Document 30 Filed 11/24/21 Page 2 of 2




                                                              Respectfully submitted,
                                                              SUZANNE IANNI,
                                                              By her attorney,
                                                              Pro Hac Vice

Date: November 24, 2021
                                                              /s/ Henry Fasoldt
                                                              C. Henry Fasoldt, BBO# 667422
                                                              185 Devonshire Street, Ste. 302
                                                              Boston, MA 02110
                                                              henry@bostondefenselaw.com
                                                              617-338-0009 – office




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on this date,
November 24, 2021

                                                              /s/ Henry Fasoldt
                                                              Henry Fasoldt
